Case 3:16-md-02738-MAS-RLS Document 9741-3 Filed 05/07/19 Page 1 of 1 PageID: 46366




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON                      MDL NO. 16-2738 (FLW) (LHG)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES
    PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION


   THIS DOCUMENT RELATES TO ALL CASES

               PROPOSED ORDER TO EXCLUDE THE OPINIONS
                  U




              OF DRS. ANN G. WYLIE AND MELINDA DARBY DYAR
              U




         THIS MATTER, having been opened to the Court by Plaintiffs for entry of

   an order to exclude the opinions of Drs. Ann G. Wylie and Melinda Darby Dyar and

   the Court having considered the submissions of the parties and having heard oral

   argument, and for good cause shown;

         IT IS on this _____ day of __________________, 2019

         ORDERED as follows:

         1.           The Plaintiffs’ Steering Committee’s Motion to Exclude the Opinions

   of Drs. Ann G. Wylie and Melinda Darby Dyar is GRANTED in its entirety; and

         2.           Drs. Ann G. Wylie and Melinda Darby Dyar, experts for Defendants,

   shall be barred from offering their opinions.


                                              ___________________________________
                                              Hon. Freda L. Wolfson
